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September 10, 2024

Via ECE

Hon. Karen M. Williams

United States District Court
Mitchell H. Cohen U.S. Courthouse
4th & Cooper Streets

Camden, New Jersey 08101

Re: SS.» Collins
United States District Court, District of New Jersey
Civ No, 23-0892

Dear Judge Williams,

Our office represents the plaintiff, S.S. On August 14, 2024, this court issued an order
requiring plaintiff to supplement the record with copies of his medical records and Defendant’s
employment records by September 16, 2024. T served a subpoena on Defendant’s employer but
have not received responsive documents, We are also in the process of gathering plaintiff's
medical records and obtaining a report. It is respectfully. requested that plaintiff have an

additional 30 days to make the supplemental submission. | wo
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Thank you very much in advance. f
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/ Respectfully submitted,
/
/ /s/Daniel Szalkiewicz
/ By: Daniel 8. Szalkiewicz, Esq.
| daniel@lawdss.com
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KAREN M. WILLIAMS -
UNITED STATES DISTRICT JUDGE

Daniel Szaikiewicz & Associates, P.C.
